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Speaker 1 (00:00):
What's up man?

James Garretson (00:12):
Hey, dickhead, what do you think about these skis? I need to go ahead and go to give this bank and do a
down payment, if not?

Speaker 1 (00:13):
Say that again.

James Garretson (00:13):
I said, what do you think about these skis, queer? Because if not, I need to go give that bank that money.

Speaker 1 (00:23):
Oh yeah. I'm going to get them mother fuckers. The only reason why I went with those Kawasaki's was
because there's two of them and they was cheaper. It was like-

James Garretson (00:35):
Yeah, but Kawasaki's don't even... I can't use them in the Keys though that's the problem. They only
insure the-

Speaker 1 (00:36):
Yeah, I didn't know that.

James Garretson (00:37):
They only insured that one deal. Why don't you let me know what to do with these Ska dis. If not, I've
got to go pick these up from this other place and give them this down payment.

Speaker 1 (00:47):
Well, I guess you want to... I mean it's up to you. I was going to go ahead and go back down there right
in a minute and just go ahead and get-

James Garretson (00:54):
Just go down there, and see what they say.

Speaker 1 (01:00):
Okay, so what time do I need to tell this dude though, boss?

James Garretson (01:03):
I don't know, man. I'm around people right now. Just give me a while to break free from people. I got
five or six people with me.

Speaker 1 (01:10):


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Okay.

James Garretson (01:11):
That don't do endless shit.

Speaker 1 (01:14):
Right on. Okay, so I'll just tell him around 1:00.

James Garretson (01:19):
He want us to overnight the paperwork?

Speaker 1 (01:23):
I mean, yeah. That'd been better. Because if I'd overnighted the paperwork, he could have just got it and
signed it and then sent it right back. You know what I'm saying? But now, since I told him last week that
you was going to go see him, boom. He was like okay, well I'll just go ahead and bring it to him and he
can sign it. And then go ahead and I'll just take it back to the office. You know what I'm saying?

James Garretson (01:54):
You don't have anybody that looks like that dude, do you?

Speaker 1 (01:54):
Huh?

James Garretson (01:54):
You don't have anybody that looks like that dude, do you?

Speaker 1 (01:59):
No. Well, I kind of with my boy KD, but KD kind of looks like him.

James Garretson (02:09):
I mean, the guy's got a copy of the ID, he don't have the real ID. So it's...

Speaker 1 (02:14):
Right. All right these kind of look alike. And then he just asked in a text message, he said, man, tell your
boy, James, man to go ahead and get his W-2s.

James Garretson (02:30):
No, I'm giving anybody taxes. You don't have to do all that taxes.

Speaker 1 (02:35):
Yeah. Bro, I already know. That's why I didn't even respond to the text message. He said, yeah man, W-
2s something another, something.. I was like, man, I'll give the mother fucker back and go get something
else.


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James Garretson (02:46):
Yeah. You shouldn't have to get nothing.

Speaker 1 (02:49):
Yeah. And then on top of that though, if he was going to do all of that, he should have said that a week
ago. You know what I'm saying? He ain't come ready for that. He just come here and take this, sign
them, and go.

James Garretson (02:56):
So that JD's talked to me before because I was fucking buying a car from him.

Speaker 1 (03:04):
Oh yeah? Black dude?

James Garretson (03:07):
Yeah, the black dude.

Speaker 1 (03:09):
Yeah.

James Garretson (03:09):
He's the sales manager or whatever he calls himself.

Speaker 1 (03:13):
Yeah.

James Garretson (03:15):
All right. Let me figure it out. Figure out the skis real quick and see what you can figure out. If not, I need
to move forward with this shit.

Speaker 1 (03:20):
All right. I'm about to go ahead and go on down there.

James Garretson (03:20):
All right. Bye.




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